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 AO 442 (Rev. 11111) ArrestWarrant




                                                                  UNITED STATES DISTRICT COURT
                                                                                                 for the

                                                                                        District of Columbia

                             United States of America
                                        v.                                                         )
                SHAWN BRADLEY WITZEMANN                                                            ) Case: 1:21-mj-00348
                                                                                                   ) Assigned To : Meriweather, Robin M.
                                                                                                   ) Assign. Date: 4/1/2021
                                                                                                   ~ Description: COMPLAINT WI ARREST WARRANT
                                                  Defendant


                                                                                  ARREST WARRANT
 To:         Any authorized law enforcement officer


             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)
                                                         SHAWN BRADLEY WITZEMANN
who is accused of an offense or violation based on the following document filed with the court:

o      Indictment                           o         Superseding Indictment              o Information        o   Superseding Information           N.   Complaint
o      Probation Violation Petition                                o   Supervised Release Violation Petition             o Violation Notice             0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § 1752(a)(I) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
 Lawful Authority;
 18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds;
 40 U.S.C. § 5104(e)(2)(G)                                - Parading, Demonstrating,            or Picketing in a Capitol Building.

Date: __            4"-,/O~1"--,,/2=O,,,,-2,,,-1 __                                                          P     +~             2021.04.01
                                                                                                                                  15:24:02 -04'00'
                                                                                                                          Issuing officer's signature

City and state:                                         Washin     on D.C.                                 Robin M. Meriweather          U.S. Magistrate             Judge
                                                                                                                           Printed name and title


                                                                                                Return

            This warrant was received on                           (date)   t..f 1,liftJ;J..t          , and the person was arrested on    (date)'      ~ /    It / {}();JI
at   (city and state)            POt rt'";7               V'\ I   N~                                                                                       ,     I




Date:       ~   ia/;;.(
                t    '



                                                                                                              U/,A.(-(_ ~vJ_'11            S-;?eCJtJ
                                                                                                                           Printed name anJtitle
                                                                                                                                                               ~et-1t__
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                                            U.S. District Court
                   United States District Court - District of New Mexico (Albuquerque)
                       CRIMINAL DOCKET FOR CASE #: 1:21-mj-00446-SCY-1


 Case title: USA v. Witzemann                                                          Date Filed: 04/06/2021

  Other court case number: District of Columbia 1:21-mj-00348                          Date Terminated: 04/09/2021


 Assigned to: Magistrate Judge Steven C.
 Yarbrough

 Defendant (1)
 Shawn Bradley Witzemann                                               represented by Todd J. Bullion
 TERMINATED: 04/09/2021                                                               Law Office of Todd J. Bullion
                                                                                      300 Central Ave SW
                                                                                      Suite #1000E
                                                                                      87102
                                                                                      Albuquerque, NM 87102
                                                                                      505-452-7674
                                                                                      Email: todd@bullionlaw.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: CJA Appointment

 Pending Counts                                                                        Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 Complaint and Warrant from the District of
 Columbia



 Plaintiff

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 USA                                              represented by Jack Burkhead
                                                                        U.S. Attorney's Office
                                                                        P.O. Box 607
                                                                        Albuquerque, NM 87103
                                                                        505-346-7274
                                                                        Fax: 505-346-7296
                                                                        Email: jack.e.burkhead@usdoj.gov
                                                                        LEAD ATTORNEY
                                                                        ATTORNEY TO BE NOTICED
                                                                        Designation: Retained

  Date Filed            #    Docket Text
  04/06/2021                 Arrest (Rule 5) of Shawn Bradley Witzemann. (eh) (Entered: 04/06/2021)
  04/06/2021             1 Rule 5 Documents (Complaint and Warrant) Received as to Shawn Bradley Witzemann.
                           (eh) (Entered: 04/06/2021)
  04/06/2021             2 NOTICE OF HEARING WITH VIDEO STREAMING as to Shawn Bradley Witzemann:
                           Initial Appearance - Rule 5 set for 4/7/2021 at 09:30 AM in Albuquerque - 440 Hondo
                           Courtroom - Remote before Magistrate Judge Steven C. Yarbrough. (eh)

                             NOTE:

                             1. This proceeding will be held via Zoom Video/Web Conferencing with all participants
                             appearing remotely; the Zoom ID and Passcode will be provided separately to the
                             participants email address of record.

                             2. Participants should connect to the proceeding 15 minutes prior its scheduled start time
                             to allow time for trouble-shooting of any connectivity issues.

                             3. To ensure the record is of the best quality participants are encouraged to utilize a headset
                             to reduce static and background noise; if not using a headset participants must ensure the
                             audio feed at their location is muted when not speaking.

                                     *** REMINDER: Recording or broadcasting of this hearing is prohibited. ***



                             This hearing will be available for remote viewing by video stream.
                             Please visit the Court's website at www.nmd.uscourts.gov for information and instructions
                             to connect.

                             [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]           (Entered:
                             04/06/2021)
  04/07/2021             3 ORDER Setting Conditions of Release as to Shawn Bradley Witzemann by Magistrate
                           Judge Steven C. Yarbrough (nm) (Entered: 04/07/2021)
  04/07/2021             4 WAIVER of Personal Presence at Hearing by Shawn Bradley Witzemann (nm) (Entered:
                           04/07/2021)
  04/07/2021             5 Clerk's Minutes before Magistrate Judge Steven C. Yarbrough: Initial Appearance in Rule
                           5 Proceedings as to Shawn Bradley Witzemann held (Recording Info: Liberty-Hondo) (kd)
                           (Entered: 04/07/2021)

https://nmd-ecf.sso.dcn/cgi-bin/DktRpt.pl?211301086161689-L_1_0-1                                                          2/4
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  04/07/2021           6 NOTICE OF HEARING WITH VIDEO STREAMING as to Shawn Bradley Witzemann:
                          Identity Hearing for Rule 5 set for 4/9/2021 at 09:30 AM in Albuquerque - 460 Vermejo
                          Courtroom - Remote before Magistrate Judge Steven C. Yarbrough. (kd)

                             NOTE:

                             1. This proceeding will be held via Zoom Video/Web Conferencing with all participants
                             appearing remotely; the Zoom ID and Passcode will be provided separately to the
                             participants email address of record.

                             2. Participants should connect to the proceeding 15 minutes prior its scheduled start time
                             to allow time for trouble-shooting of any connectivity issues.

                             3. To ensure the record is of the best quality participants are encouraged to utilize a headset
                             to reduce static and background noise; if not using a headset participants must ensure the
                             audio feed at their location is muted when not speaking.

                                     *** REMINDER: Recording or broadcasting of this hearing is prohibited. ***



                             This hearing will be available for remote viewing by video stream.
                             Please visit the Court's website at www.nmd.uscourts.gov for information and instructions
                             to connect.

                             [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]           (Entered:
                             04/07/2021)
  04/07/2021             7 Pursuant to the Due Process Protections Act, the Court confirms the United States'
                           obligation to produce all exculpatory evidence to the defendant pursuant to Brady v.
                           Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so. Failing to do so in a
                           timely manner may result in consequences, including but not limited to, exclusion of
                           evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or
                           sanctions by Magistrate Judge Steven C. Yarbrough (kd)
                           [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] (Entered:
                           04/07/2021)
  04/07/2021             8 CJA Appointment of Attorney Todd J. Bullion for Shawn Bradley Witzemann by
                           Magistrate Judge Steven C. Yarbrough. (eh)
                           [THIS IS A TEXT-ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.] (Entered:
                           04/07/2021)
  04/08/2021                 U.S. Probation and Pretrial Services added as interested party.(Day, Sandra) (Entered:
                             04/08/2021)
  04/08/2021           14 WAIVER of Rule 5 & 5.1 Hearings by Shawn Bradley Witzemann (khs) (Entered:
                          04/09/2021)
  04/09/2021           11 First MOTION Oppose Recommended Conditions Of Relief by Shawn Bradley
                          Witzemann. (Attachments: # 1 Exhibit Letter, # 2 Exhibit Letter)(Bullion, Todd) (Entered:
                          04/09/2021)
  04/09/2021           12 WAIVER of Personal Presence at Hearing by Shawn Bradley Witzemann. (eh) (Entered:
                          04/09/2021)
  04/09/2021           13 Clerk's Minutes before Magistrate Judge Steven C. Yarbrough: Identity Hearing for Rule 5
                          as to Shawn Bradley Witzemann held(Recording Info: Liberty-Hondo) (kd) (Entered:
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                          04/09/2021)
  04/09/2021           15 ORDER by Magistrate Judge Steven C. Yarbrough Amending Conditions of Release as to
                          Shawn Bradley Witzemann (kd) (Entered: 04/09/2021)
  04/09/2021           16 ORDER TO APPEAR IN THE DISTRICT WHERE CHARGES ARE PENDING as to
                          Shawn Bradley Witzemann by Magistrate Judge Steven C. Yarbrough (nm) (Entered:
                          04/12/2021)
  04/14/2021           17 COMMITMENT LETTER as to Shawn Bradley Witzemann (nm) (Entered: 04/14/2021)




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